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                                                                                                 Must be at least 21 days after date
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                                                                                                 Principal, interest, and escrow, if any
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        YDULDEOHUDWHDFFRXQW"
        
        ✔    No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
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           ✔
               No
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)
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      Debtor 1       _____BB_________________________________________________                           Case number (LINQRZQ) ______________________
                     First Name          Middle Name         Last Name




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 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


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    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



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 8    /s/Armenia Harrell
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      Signature
                                                                                    05/19/2020
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        Harrell, Armenia                                                                         VP Loan Documentation
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        First Name                Middle Name               Last Name              7LWOH


 Company Wells Fargo Bank, N.A.
         _B____________________BB____________________________________

 Address    MAC N9286-01Y
            ___________________________B_________BB______BB______________
            Number                       Street

            1000 Blue Gentian Road
            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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             Eagan                                   MN      55121-7700
            BBBB_______________________________________________BBBBBBBB__
              City                                                     State      ZIPCode



                     800-274-7025                                                                NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone BBBBBBBBBBBBBBBBBBBBBBBBB                                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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                     UNITED STATES BANKRUPTCY COURT
                                                        Northern District of Ohio


                                                    Chapter 13 No. 1916137
                                                    Judge: JESSICA E. PRICE SMITH

In re:
Thomas C. Hanna
                                           Debtor s 

                                           CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before May 20, 2020 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                            %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                    Thomas C. Hanna
                                    3332 Archwood Avenue

                                    Cleveland OH 44109



                                   %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                    N/A




Debtor’s Attorney:                 %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                    Thomas Jeffrey Tumlin
                                    T. Jeffrey Tumlin, Attorney at Law L.P.
                                    124 Lafayette Road Suite 205
                                    Suite 205
                                    Medina OH 44256


                                   %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                   N/A




Trustee:                           %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                    Lauren A. Helbling

                                    200 Public Square Suite 3860

                                    Cleveland OH 44114-2321

                                                          @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
                                                          /s/Armenia Harrell
                                                           VP Loan Documentation
                                                           Wells Fargo Bank, N.A.
           19-16137-jps       Doc         FILED 05/19/20           ENTERED 05/19/20 14:13:52              Page 3 of 9
                            Return Mail Operations
                            PO Box 14547
                            Des Moines, IA 50306-4547




         THOMAS HANNA
         3332 ARCHWOOD AVE
         CLEVELAND OH 44109-2536




     What you need to know about your escrow account
     You may still be recovering from the impact of COVID-19. We understand that you’ve been focused on what
     matters most — your health and the health and safety of the people you care for — so we’re providing some
     information about your escrow account.

     You may still be on payment suspension. Your payment may change during this time because of this escrow
     analysis. Rest assured that at the end of your payment suspension, we will work with you on next steps, including
     ways to pay an escrow shortage.

     We’ll continue to analyze your account
     Throughout this payment suspension period, we’ll continue to analyze your account and pay your tax bills,
     insurance bills, or both. The enclosed statement provides a complete summary of your most recent escrow activity
     and explains any changes that have occurred with your escrow bills as we look to the upcoming year.

     We’re here to help
     We know that this has been a difficult time. If you have questions, please call us at the number listed on the
     enclosed escrow review statement.




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19-16137-jps   Doc   FILED 05/19/20   ENTERED 05/19/20 14:13:52   Page 5 of 9
                                   Return Mail Operations                                    Escrow Review Statement
                                   PO Box 14547
                                                                                             For informational purposes only
                                   Des Moines, IA 50306-4547
                                                                                             Statement Date:                                    May 11, 2020
                                                                                             Loan number:
                                                                                             Property address:
                                                                                                  3332 ARCHWOOD AVE
                                                                                                  CLEVELAND OH 44109


                                                                                             Customer Service
                                                                                                   Online                          Telephone
                                                                                                   wellsfargo.com                  1-800-340-0473
            THOMAS HANNA
                                                                                                   Correspondence                  Hours of operation
            3332 ARCHWOOD AVE                                                                      PO Box 10335                    Mon - Fri 7 a.m. - 7 p.m. CT
            CLEVELAND OH 44109-2536                                                                Des Moines, IA 50306
                                                                                                   To learn more, go to:
                                                                                                   wellsfargo.com/escrow


                                                                                                     We accept telecommunications relay service calls



  PLEASE NOTE: If you are presently seeking relief (or have previously been granted
  relief) under the United States Bankruptcy Code, this statement is being sent to you
  for informational purposes only. The summaries below are based on the terms of the
  loan and are provided for informational purposes only.
  These amounts are governed by the terms of the loan unless otherwise reduced by an
  order of the bankruptcy court. Because the amounts billed for the escrow items can
  change over time, we review the escrow account at least once per year to ensure there
  will be enough money to make these payments. Once the review is complete, we send
  the escrow review statement, also known as the escrow account disclosure statement.
                                                                                               The escrow account has a shortage of
  Here's what we found:
       • Required Minimum Balance: The escrow account balance is projected to                               $576.76
          fall below the required minimum balance. This means there is a shortage.

       •   Payments: As of the July 1, 2020 payment, the contractual portion of the
           escrow payment increases.



    Part 1 - Mortgage payment

           Option 1                Pay the shortage amount over 12 months
                                    Previous payment through New payment beginning with
                                    06/01/2020 payment date   the 07/01/2020 payment
                                                                                                  Option 1: No action required
   Principal and/or interest                  $704.82                   $704.82

   Escrow payment                              $518.91                 $606.36                Starting July 1, 2020 the new contractual
   Total payment amount
                                                                                              payment amount will be $1,311.18
                                           $1,223.73                 $1,311.18

           Option 2                Pay the shortage amount of $576.76
                                    Previous payment through New payment beginning with
                                    06/01/2020 payment date   the 07/01/2020 payment
                                                                                                  Option 2: Pay shortage in full
   Principal and/or interest                  $704.82                   $704.82

   Escrow payment                              $518.91                  $558.30               Starting July 1, 2020 the new contractual
   Total payment amount                                                                       payment amount will be $1,263.12
                                           $1,223.73                 $1,263.12




                                                         See Page 2 for additional details.


                                          Note: If you are presently seeking relief (or have previously been granted relief) under the United
                                          States Bankruptcy Code, this coupon is being provided for informational purposes only. If your
                                          Chapter 13 plan calls for your Chapter 13 Trustee to make the on-going post-petition mortgage
                                          payments, please contact your attorney or the Trustee’s office before directly sending any
                                          amounts relating to this escrow shortage

                                                                    If you choose to pay the shortage in full as referenced in Option 2, detach this coupon
                                                                    and mail it along with a check for $576.76 to the address that appears on this coupon.
    THOMAS HANNA
                                                                    This payment must be received no later than July 1, 2020.


                Wells Fargo Home Mortgage
                PO Box 14538
                Des Moines, IA 50306-3538




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                                                                                                                           Loan Number:


        Part 2 - Payment calculations
   For the past review period, the amount of the escrow items was $4,260.58. For the coming year, we expect the amount paid from escrow to be
   $6,699.60.

   How was the escrow payment calculated?
   To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
   escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
   determine the escrow amount.

   The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
   through the date of the analysis.



   Escrow comparison

                                                                                                                                           New monthly
                                        07/18 - 06/19      07/19 - 06/20        11/19 - 05/20   07/20 - 06/21
                                                                                                                          # of               escrow
                                          (Actual)           (Actual)             (Actual)       (Projected)
                                                                                                                         months              amount

   Property taxes                             $3,944.54         $1,978.67           $1,978.67      $3,957.34      ÷         12        =         $329.78
   Property insurance                          $1,122.34        $1,609.82           $1,609.82     $1,609.82       ÷         12        =          $134.15
   Total taxes and insurance                  $5,066.88         $3,588.49           $3,588.49      $5,567.16      ÷         12        =         $463.93
   Escrow shortage                               $91.87             $0.00              $0.00        $576.76       ÷         12        =          $48.06**
   Mortgage insurance                         $1,180.02         $1,058.77            $672.09       $1,132.44      ÷         12        =          $94.37

   Total escrow                               $6,338.77         $4,647.26           $4,260.58      $7,276.36      ÷         12        =         $606.36


   **
       This amount is added to the payment if Option 1 on page 1 is selected.


   Projected escrow account activity over the next 12 months
   To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
   greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
   balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                       (Calculated in Part 3 - Escrow account projections
   Lowest projected escrow balance June, 2021                                          $351.10         table)

   Minimum balance for the escrow account†                                -           $927.86          (Calculated as: $463.93 X 2 months)


   Escrow shortage                                                        =           -$576.76


   †
    The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance. To calculate the cash reserve for the escrow
   account, we add the yearly escrow payments, and divide by 12 (this amount does not include mortgage insurance). We take this amount and multiply
   it by 2 as allowed by state laws and/or the mortgage contract to determine the cash reserve.




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                                                                                                                                  Loan Number:



    Part 3 - Escrow account projections
   Escrow account projections from July, 2020 to June, 2021
                                             What we
                Payments to                  expect to                                                                   Projected escrow        Balance required
   Date           escrow                      pay out         Description                                                    balance              in the account
   Jun 2020                                                   Starting balance                                                  $351.10                     $927.86
   Jul 2020           $558.30                      $94.37     FHA Insurance                                                     $815.03                    $1,391.79
   Aug 2020           $558.30                      $94.37     FHA Insurance                                                    $1,278.96                   $1,855.72
   Sep 2020           $558.30                      $94.37     FHA Insurance                                                    $1,742.89                   $2,319.65
   Oct 2020           $558.30                      $94.37     FHA Insurance                                                   $2,206.82                    $2,783.58
   Nov 2020           $558.30                      $94.37     FHA Insurance                                                   $2,670.75                    $3,247.51
   Dec 2020           $558.30                      $94.37     FHA Insurance                                                    $3,134.68                   $3,711.44
   Jan 2021           $558.30                      $94.37     FHA Insurance                                                   $3,598.61                    $4,175.37
   Jan 2021              $0.00                  $1,978.67     CUYAHOGA COUNTY(A)(5)                                            $1,619.94                   $2,196.70
   Feb 2021           $558.30                      $94.37     FHA Insurance                                                   $2,083.87                    $2,660.63
   Feb 2021              $0.00                  $1,609.82     ALLSTATE EDI ONLY                                                 $474.05                    $1,050.81
   Mar 2021           $558.30                      $94.37     FHA Insurance                                                     $937.98                    $1,514.74
   Apr 2021           $558.30                      $94.37     FHA Insurance                                                    $1,401.91                   $1,978.67
   May 2021           $558.30                      $94.37     FHA Insurance                                                    $1,865.84                   $2,442.60
   Jun 2021           $558.30                      $94.37     FHA Insurance                                                   $2,329.77                    $2,906.53
   Jun 2021              $0.00                  $1,978.67     CUYAHOGA COUNTY(A)(5)                                             $351.10                     $927.86

   Totals           $6,699.60                  $6,699.60



    Part 4 - Escrow account history
   Escrow account activity from November, 2019 to June, 2020
                         Deposits to escrow                     Payments from escrow                                                       Escrow balance
      Date      Actual      Projected Difference            Actual   Projected Difference                Description           Actual         Projected Difference
   Nov 2019                                                                                           Starting Balance         $1,495.62       $2,533.44      -$1,037.82
   Nov 2019        $0.00          $518.91       -$518.91       $0.00          $96.67       -$96.67    FHA Insurance            $1,495.62      $2,955.68       -$1,460.06

   Nov 2019        $0.00            $0.00         $0.00       $96.67             $0.00      $96.67    FHA Insurance            $1,398.95      $2,955.68       -$1,556.73

   Dec 2019      $518.91          $518.91         $0.00        $0.00          $96.67       -$96.67    FHA Insurance             $1,917.86      $3,377.92      -$1,460.06

   Dec 2019        $0.00            $0.00         $0.00       $96.67             $0.00      $96.67    FHA Insurance             $1,821.19      $3,377.92      -$1,556.73

   Jan 2020     $1,037.82         $518.91       $518.91        $0.00          $96.67       -$96.67    FHA Insurance            $2,859.01      $3,800.16         -$941.15

   Jan 2020        $0.00            $0.00         $0.00        $0.00        $1,972.27    -$1,972.27   CUYAHOGA COUNTY(A)(5)    $2,859.01       $1,827.89       $1,031.12

   Jan 2020        $0.00            $0.00         $0.00       $96.67             $0.00      $96.67    FHA Insurance            $2,762.34       $1,827.89        $934.45

   Jan 2020        $0.00            $0.00         $0.00     $1,978.67            $0.00   $1,978.67    CUYAHOGA COUNTY(A)(5)      $783.67       $1,827.89      -$1,044.22

   Jan 2020        $0.00            $0.00         $0.00     $1,609.82            $0.00   $1,609.82    ALLSTATE EDI ONLY         -$826.15       $1,827.89      -$2,654.04

   Feb 2020      $518.91          $518.91         $0.00        $0.00          $96.67       -$96.67    FHA Insurance             -$307.24       $2,250.13      -$2,557.37

   Feb 2020        $0.00            $0.00         $0.00        $0.00        $1,122.34    -$1,122.34   ALLSTATE EDI ONLY         -$307.24       $1,127.79      -$1,435.03

   Feb 2020        $0.00            $0.00         $0.00       $96.67             $0.00      $96.67    FHA Insurance             -$403.91       $1,127.79      -$1,531.70

   Mar 2020      $518.91          $518.91         $0.00       $96.67          $96.67         $0.00    FHA Insurance               $18.33       $1,550.03      -$1,531.70

   Apr 2020      $518.91          $518.91         $0.00        $0.00          $96.67       -$96.67    FHA Insurance              $537.24       $1,972.27      -$1,435.03

   Apr 2020        $0.00            $0.00         $0.00       $94.37             $0.00      $94.37    FHA Insurance              $442.87       $1,972.27      -$1,529.40

   May 2020     $1,556.73         $518.91      $1,037.82       $0.00          $96.67       -$96.67    FHA Insurance            $1,999.60       $2,394.51        -$394.91
   (estimate)

   May 2020        $0.00            $0.00         $0.00       $94.37             $0.00      $94.37    FHA Insurance            $1,905.23       $2,394.51       -$489.28

   Jun 2020      $518.91          $518.91         $0.00       $94.37          $96.67        -$2.30    FHA Insurance            $2,329.77       $2,816.75       -$486.98
   (estimate)

   Jun 2020        $0.00            $0.00         $0.00     $1,978.67       $1,972.27        $6.40    CUYAHOGA                   $351.10        $844.48        -$493.38
   (estimate)                                                                                         COUNTY(A)(5)

   Totals       $5,189.10        $4,151.28     $1,037.82    $6,333.62     $5,840.24       $493.38




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